        Case:19-10286-TBM Doc#:17 Filed:02/01/19                              Entered:02/01/19 22:27:21 Page1 of 3
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 19-10286-TBM
11380 SMITH RD LLC                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: barnesl                      Page 1 of 1                          Date Rcvd: Jan 30, 2019
                                      Form ID: pdf904                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 01, 2019.
db             +11380 SMITH RD LLC,   11380 Smith Road,   Aurora, CO 80010-1406
ptcrd          +Mid America Plastic Systems,   1510 Jade Rd,   Columbia, MO 65201-1702

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 01, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 30, 2019 at the address(es) listed below:
              Aaron A Garber   on behalf of Debtor   11380 SMITH RD LLC Aaron@bandglawoffice.com,
               nichole@bandglawoffice.com;celina@bandglawoffice.com
              Duncan E. Barber   on behalf of Petitioning Creditor    Mid America Plastic Systems
               dbarber@sbbolaw.com, mal@sbbolaw.com
              Timothy M. Swanson   on behalf of Creditor    11380 East Smith Rd Investments, LLC
               tim.swanson@moyewhite.com,
               audra.duzenack@moyewhite.com;Melissa.dymerski@moyewhite.com;robin.anderson@moyewhite.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 4
Case:19-10286-TBM Doc#:17 Filed:02/01/19            Entered:02/01/19 22:27:21 Page2 of 3


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Case:19-10286-TBM Doc#:17 Filed:02/01/19            Entered:02/01/19 22:27:21 Page3 of 3


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